                          EXHIBIT

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                              Expert Report of Dr. David Cecelski

       Students for Fair Admission, Inc. v. University of North Carolina, et al., Case No.
       1:14-cv-00954-LCB-JLW (M.D.N.C.)

I.     Background and Qualifications

       My name is Dr. David S. Cecelski.

       I am an independent historian and scholar of North Carolina history and culture, with a

focus on the history of African-Americans in North Carolina, including racial discrimination in

public education and the struggle against state-sponsored racial segregation in education. I

received my B.A. degree at Duke University (1982) and earned my M.A. and Ed.D degrees from

the Harvard Graduate School of Education (1991), where I was named to the editorial board of

the Harvard Educational Review. I have written several scholarly books and hundreds of articles

on the history of North Carolina. Among them is Along Freedom Road: Hyde County, North

Carolina, and the Fate of Black Schools in the South, an in-depth study of education and school

integration that remains an important text in its field. In addition, I have written The Waterman’s

Song: Slavery and Freedom in Maritime North Carolina and The Fire of Freedom: Abraham

Galloway and the Slaves’ Civil War, both of which received North Carolina’s highest awards for

non-fiction writing.

       In addition to those scholarly works, I co-edited (with Timothy B. Tyson) Democracy

Betrayed: The Wilmington Race Riot of 1898 and Its Legacy, which was awarded an Outstanding

Book Award from the Gustavus Myers Center for the Study of Human Rights. My other books

include a collection of historical essays called A Historian’s Coast and an edited version (with

Katherine Charron) of an important slave narrative, William H. Singleton’s Recollections of My

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Slavery Days. For a decade I wrote a popular oral history series called “Listening to History” for

the Raleigh News & Observer, and I wrote a regular environmental history essay for Coastwatch

magazine between 1996 and 2000. I have held distinguished visiting professorships at Duke, the

University of North Carolina at Chapel Hill, and East Carolina University and continue to lecture

and consult across the United States. Most recently, in fall of 2016, the North Carolina Literary

and Historical Association honored me with the C. C. Crittenden Award for lifetime achievement

“in the advancement of North Carolina history.”

        In addition to the qualifications mentioned above that make up the basis of my opinions, I

have attached as Exhibit 1 my curriculum vitae, which includes my education, professional

affiliations, and descriptions of particularly relevant experiences. It also includes a list of all of

the publications that I have authored in the last ten years.1 I have not previously served as an

expert witness.

        The opinions stated herein are based upon my knowledge, training and experience, and

have been rendered within a reasonable degree of professional certainty, consistent with

professional skill and care.

II.     Assignment and Compensation

        I have been engaged by Defendant-Intervenors’ counsel to summarize and describe the

history of discrimination and segregation at the University of North Carolina at Chapel Hill

(“UNC-CH” or the “University”) as well as the State of North Carolina’s history of

discrimination and segregation in public (K-12) education, using standard academic measures


1
 For the most current listing of my books, articles and lectures on North Carolina history, see
https://davidcecelski.com/.
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and methods. As described in further detail below, my analysis included a review of relevant

scholarly materials regarding the history of UNC-CH and North Carolina’s history of racial

discrimination and segregation in public education.

         I am being compensated in the present matter as follows. The time expended in my

preparation of this report has been provided pro bono. My hourly rate for deposition or trial

testimony is $200/hour. Fees for my services are not contingent in any manner on the outcome of

this litigation.

III.     Documents and Information Relied on for this Report

         In my preparation of this report I have relied on the following documents and

information:

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1988, Office of Chancellor of the University of North Carolina at Chapel Hill: Christopher C.
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North Carolina, No. 1:14-CV-00954-LCB-JLW (M.D.N.C.).

Declaration of Patsy B. Zeigler, May 30, 2017, Students for Fair Admissions, Inc. v. University
of North Carolina, No. 1:14-CV-00954-LCB-JLW (M.D.N.C.).

IV.     UNC-CH’s History of White Supremacy and Racist Exclusion

        The University of North Carolina at Chapel Hill has been a strong and active promoter of

white supremacy and racist exclusion for most of its history. Current policies and practices aside,

the power of that historical legacy persists and is grounded deeply in generations of racial

exclusion, hostility to employees and students of color, and a commemorative landscape2 that


2
 For a description of the slavery-related history underlying many of UNC-CH’s monuments and
commemorative plaques, see Daniel Lockwood, Daily Tarheel, “Evidence of Institutional

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continues to honor white supremacists from the State’s past. Over the centuries, the University’s

leaders have included the State’s largest slaveholders, the leaders of the Ku Klux Klan, the

central figures in the white supremacy campaigns of 1898 and 1900, and many of the State’s

most ardent defenders of Jim Crow and race-based Social Darwinism in the twentieth century. In

recent decades, the University’s faculty, administrators and trustees have made important strides

to reform the institution’s racial outlook and policies, but those efforts have fallen short of

repairing a deep-seated legacy of racial hostility and disrespect for people of color.

        To an important degree, the impact of that history is beyond measurement and statistics:

after proudly bearing the mantle of white supremacy for many generations, History is not easily

cast aside.

        A brief review of the University’s history as a potent symbol of white supremacy and

racist oppression offers important lessons. Founded in 1789, the University was established

primarily as an institution of higher learning for the slaveholding class. Thirty of the original

forty UNC-CH trustees were slaveholders, at a time when 69 percent of North Carolina’s white

families held no slaves at all.3 Their mission “was to make young men into masters.”4 The


Racism at UNC,” February 20, 2015, accessed December 19, 2017,
http://www.dailytarheel.com/article/2015/02/evidence-of-institutional-racism-at-unc; UNC-CH,
“Virtual Black and Blue Tour: UNC’s Historical Landmarks in Context of UNC’s Racial
History,” accessed December 19, 2017, http://blackandblue.web.unc.edu/stops-on-the-tour/.
3
  See Susan Ballinger, Bari Helms, and Janis Holder, Slavery and the Making of the University
(Chapel Hill: The University of North Carolina Press, 2005), 23 (numbers of trustees who owned
slaves and number of slaves owned by individual trustees); Guion Griffis Johnson, Ante-Bellum
North Carolina: A Social History (Chapel Hill: The University of North Carolina Press, 1937),
56 (percentage of slave holding families in North Carolina in 1790).
4
  James L. Leloudis, Schooling the New South: Pedagogy, Self, and Society in North Carolina,
1880-1920 (Chapel Hill: The University of North Carolina Press, 1996), 38.

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University’s trustees and largest donors were generally large slaveholders, as were the students’

families, and the University often employed enslaved laborers, as did many of the students.5

       While some American universities had progressive policies with respect to race and

slavery in the 19th century, that was not the case at UNC-CH or in Chapel Hill. The whipping of

slaves by University professors and townspeople was an established norm of white supremacy in

Chapel Hill. 6 The University excluded all people of color from its faculty and student body, and

the University’s administration and student leaders nourished a revised vision of the State’s

history that glorified slavery and the Confederate cause in the Civil War, while putting forward

arguments in defense of white supremacy and the oppression of people of color.7

       The University’s leaders and study body punished any dissent from racial orthodoxy. For

example, in 1856, when Professor Benjamin Hedrick stated that he opposed the extension of

slavery into the western territories, the University’s trustees fired him and students burned him in

effigy.8 A few years later, in 1865, UNC-CH students attacked an African-American political

meeting in Chapel Hill.9


5
  Ballinger, Helms, and Holder, Slavery and the Making of the University, 23; Paul D. Escott,
Many Excellent People: Power and Privilege in North Carolina, 1850-1900 (Chapel Hill: The
University of North Carolina Press, 1985), 15; Catherine W. Bishir, “Black Builders in
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Kemp P. Battle, History of the University of North Carolina, Volume I: From its Beginning to the
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15, 138-40, 150-53, 622.
6
  Battle, History, 1: 270, 534.
7
  Kemp P. Battle, History of the University of North Carolina, Volume II: From 1868-1912
(Raleigh: Edwards & Broughton Printing Co., 1912), 8, 10, 115-16, 194, 234, 242-43, 284, 315-
20, 402, 415-18, 428, 571, 666, 685.
8
  Battle, History, 1: 654-55; see also Battle, History, 2: 4, 10.
9
  Bobby Frank Jones, “An Opportunity Lost: North Carolina Race Relations During Presidential

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       In the late nineteenth century, UNC-CH grew into an even more powerful promoter of

white supremacy in North Carolina. During the Reconstruction Era, the University’s trustees and

graduates played leading roles in the Ku Klux Klan’s violent campaign against African-

American voting and civil rights.10 One such trustee, B.F. Moore, played a key role in enacting

the infamous “Black Codes” in North Carolina, greatly restricting the civil rights of the newly

freed African-American slaves.11 Later in the century, the University gave an honorary degree to

Alfred Moore Waddell, an alumnus who later led the racial massacre known as the “Wilmington

race riot of 1898.”12 A president of the UNC-CH board of trustees, Charles Aycock, was also one

of the central figures in the white supremacy campaigns of 1898 and 1900 (which included the

Wilmington race riot). The New York Times summarized Aycock on the three parts of the

successful white supremacy campaign: “Disfranchisement as far as possible, the essential




Reconstruction,” (M.A. thesis, UNC-CH, 1961), 47-48. For local commentary on this incident,
see Phillip Russell, The Woman Who Rang the Bell: The Story of Cornelia Phillips Spencer
(Chapel Hill: The University of North Carolina Press, 1949), 76.
10
   See, e.g., Battle, History, 2: 88, 787, 790 (identifying David Schenk as a graduate and John
Kerr and James E. Boyd as trustees); Jim D. Brisson, “The Kirk-Holden War of 1870 and the
Failure of Reconstruction in North Carolina” (M.A. thesis, UNC-Wilmington, 2010), accessed
December 19, 2017, available at http://dl.uncw.edu/etd/2010-3/brissonj/jimbrisson.pdf, 15, 37
(tying all three men to the Klan).
11
   Roberta Sue Alexander, North Carolina Faces the Freedmen: Race Relations During
Presidential Reconstruction (Durham: Duke University Press, 1985), 45 (noting B.F. Moore’s
role in drafting the Black Codes).
12
   Wilmington Morning Post, October 25, 1898, quoted in David S. Cecelski and Timothy B.
Tyson, eds., Democracy Betrayed: The Wilmington Race Riot of 1898 and its Legacy (Chapel
Hill: The University of North Carolina Press, 1998), 4; Alfred Moore Waddell, a Confederate
veteran and U.S. Congressman, is quoted by John Hope Franklin in his Forward to Cecelski and
Tyson, eds., Democracy Betrayed, xi.

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superiority of the white man, and recognition by the negro of his own inferiority.”13 That outlook

was deeply embedded in UNC-CH’s institutional culture, and to this day more than a half dozen

buildings on the campus still bear the names of the white supremacy campaign’s leaders.14

        In the early 20th century, the University continued to keep white supremacy at the core of

its admission policies, hiring practices, moral vision and pedagogy. The University enforced its

own Jim Crow regulations.15 At University sports events, the campus band routinely played

“Dixie.”16

        African-Americans and other people of color began to challenge UNC-CH’s all-white

enrollment policy as early as the 1930s, but the University’s leadership resisted desegregation for

decades. Few, if any, of the steps toward racial integration came voluntarily. In 1951, the federal


13
   The quote summarizing Aycock is reported in “Negro Problem Solved: North Carolina’s
Governor So Asserts at Banquet: Partial Disfranchisement a Reason, He Says, for Lack of
Trouble in His State,” New York Times, December 19, 1903, p. 5. See also Escott, Many
Excellent People, 260; J. Morgan Kousser, The Shaping of Southern Politics: Suffrage
Restriction and the Establishment of the One-party South, 1880-1910 (New Haven: Yale
University Press, 1974), 188-89; Battle, History, 2: 791; Helen Grey Edmonds, The Negro and
Fusion Politics in North Carolina, 1894-1901 (Chapel Hill: The University of North Carolina
Press, 1951), 141-2 (describing the broader context of the campaign).
14
   For a list of honorary degrees awarded by UNC-CH, see
http://library.unc.edu/wilson/ncc/honorary_degrees/. See also Battle, History, 2: 524, 786, 789,
791, 807; Edmonds, Fusion Politics, 141-42 (describing alumnus Francis Winston and recipient
Josephus Daniels’ roles in white supremacist campaigns); Leloudis, Schooling the New South,
136-7; Kousser, Shaping Southern Politics, 188-89, 191-92. In addition to naming buildings after
the white supremacist leaders of 1898-1900, the University also named buildings after a leading
Klansman and Confederate war heroes. See also Fn. 2, supra.
15
   Neal King Cheek, “An Historical Study Of The Administrative Actions In The Racial
Desegregation Of The University Of North Carolina At Chapel Hill, 1930-1955,” (M.A. thesis,
UNC-CH, 1973), 172-77.
16
   See, e.g., Art Chansky, Game Changers: Dean Smith, Charlie Scott, And The Era That
Transformed A Southern College Town (Chapel Hill: University of North Carolina Press 2016),
108-109.

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courts finally mandated that UNC-CH desegregate its law school and other graduate programs.17

In that year, the UNC-CH administration also admitted the University’s first Lumbee Indian

student. Up to that time, the University had applied the same policies and practice of racist

exclusion against North Carolina’s Lumbee Indian community as it had African-Americans.18

Simply put, at every stage, the University fought racial integration.19

        The UNC-CH trustees sought to take off pressure for racial integration of the Chapel Hill

campus by improving and starting new academic programs at North Carolina College for

Negroes (now North Carolina Central University), and the University even went to court to block

racial integration of its undergraduate student body after the U.S. Supreme Court had ruled in

Brown v. Board of Education in 1954.20


17
   McKissick v. Carmichael, 187 F.2d 949 (4th Cir. 1951), cert. denied, 341 U.S. 951 (1951). See
also Lynne Thomson, Daily Tar Heel, “First Black UNC-CH Student Recalls ’51,” August 5,
1982 (interviewing student J. Kenneth Lee).
18
   See Walker Elliott, “I Told Him I’d Never Been to His Back Door for Nothing: The Lumbee
Indian Struggle for Higher Education under Jim Crow,” The North Carolina Historical Review,
Vol. 90, No. 1, January 2013, 49-87. The University, although applying its racist admissions
policy to exclude Lumbee Indian students, does not seem to have applied that same practice of
exclusion to Cherokee students. See, e.g., UNC-CH, The Carolina Story: A Virtual Museum of
Carolina History, “First Indian at UNC, Henry Owl,” accessed December 19, 2017,
https://museum.unc.edu/exhibits/show/american-indians-and-chapel-hi/henry-owl.
19
   University of North Carolina, Resolution Adopted by Board of Trustees, May 23, 1955,
accessed December 19, 2017, available at
https://soh.omeka.chass.ncsu.edu/files/original/065707dd1ca959fce82d0bf9e63f188a.jpg; Letter
from N.C. Attorney General William Rodman, Jr. to Chancellor Carey Bostian, March 29,
1956, The State of History, accessed December 19, 2017, available
at https://soh.omeka.chass.ncsu.edu/items/show/267 (lauding “the tremendous effort which the
Governor and the North Carolina Advisory Committee are making to preserve public education
in North Carolina. We must always remember that what has been done has been accomplished
under a racially segregated school system”).
20
   Cheek, “Desegregation Of The University,”134, 139, 153, 167; see also Russell Brantley,
Durham Morning Herald, “Former Solon Would Bar Negroes From University,” March 27,

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       Pursuant to court orders, the University admitted its first African-American

undergraduates in 1955.21 By admitting only a handful of African-American students and by

creating a climate of racial hostility for admitted African-American students, the University

succeeded in fighting meaningful racial integration well after the federal courts required that it

occur. “The African-American pioneers suffered constant harassment and humiliations at the law

school and on campus.”22

       Much of the UNC-CH and Chapel Hill community in which new African-American

students arrived remained segregated. Chapel Hill businesses were segregated without complaint

from UNC-CH leaders until challenged by community activists or the passage of the Civil Rights

Act of 1964.23

        Because of threats and harassment, state highway patrolmen escorted the students at all

times. “University officials were unwelcoming,” Chambers’ biographers continued, “forbidding

the black students’ participation in most campus social events.”24 African-American students



1951.
21
   Frasier v. Bd. Of Trustees of Univ. of N.C., 134 F.Supp. 589 (M.D.N.C. 1955).
22
   Richard A. Rosen and Joseph Mosnier, Julius Chambers: A Life In The Legal Struggle For
Civil Rights (Chapel Hill: The University of North Carolina Press, 2016), 29; see also “Cobb
Dormitory,” in “Virtual Black and Blue Tour,” accessed December 19, 2017,
http://blackandblue.web.unc.edu/stops-on-the-tour/.
23
   See Fn. 15, supra; June 6, 1963 letter from UNC-CH School of Law professors to President
William Friday, regarding UNC-CH’s inaction in combatting local segregation, accessed
December 19, 2017, available at
https://exhibits.lib.unc.edu/files/original/45d4be8487861c2619579655b9a9daf9.jpg; see also
Daniel H. Pollitt, Legal Problems in Southern Desegregation: The Chapel Hill Story, 43 N.C. L.
Rev. 689, 690 (1965) (noting that University’s administrators “shut their eyes to the problem
with a position of neutrality”).
24
   Rosen and Mosnier, Julius Chambers, 29-30.

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were barred from the swimming pool and housed on an all-African-American floor of a

dormitory, where they often heard the white students on other floors yelling racial epithets at

them. They “suffered frequent humiliation and enjoyed few kindnesses. Few white students

would talk to them.”25 Law school professors largely ignored their few African-American

students. They often refused to call on them in class or address them at all, and UNC-CH

administrators organized social events at whites-only venues off campus so that African-

American students could not attend them.26

        The University’s continuing refusal to desegregate any aspect of its operations or student

body without being forced to do so reinforced the barriers to the attendance and success of

students of color. The impact and legacy of this history on students of color cannot be

overestimated. The University’s treatment of its students of color sent a powerful message to the

State’s African-American citizenry that they were not welcome at UNC-CH and that their

children would not be treated with respect or dignity.

        From the mid-1950s through the mid-1960s, the University’s leaders, under court order,

finally implemented a “color-blind” admissions policy. However, UNC-CH officials refused to

take any steps to recruit qualified African-American students or other people of color to apply or

even encourage them to consider attending the University. That practice contrasted starkly with

UNC-CH’s expanded and targeted recruitment of students at all-white high schools.27




25
   Id.
26
   Id. at 30.
27
   Sarah D. Manekin, “Black Student Protest and the Moral Crisis of the University of North
Carolina at Chapel Hill, 1967-1969” (Honors thesis, Dept. of History, Spring, 1998), 13-14.
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        Starting in the late 1960s, as a result of constant pressure and protest from the Black

Student Movement and other African-American students (together with their white student and

faculty allies), the UNC-CH administration agreed to demands to take a more active position

regarding recruitment of African-American high school students. The University also agreed to

African-American student demands to revise its Eurocentric undergraduate curriculum to include

some courses addressing the African-American experience.28 Nonetheless, in 1968, the

percentage of African-American undergraduates did not quite reach 1%.29

        De facto segregation persisted. In 1976 the Department of Health Education and Welfare

cited North Carolina for maintaining a segregated system of postsecondary education.30 The

Governor publicly attacked HEW’s action “as nothing more than integration for integration’s

sake . . . a course which appears to me to lead to the destruction of North Carolina’s public

higher education facilities.”31 The ensuing conflict would last for two decades.32

        By 1978, little progress had been made by the University towards integrating its student


28
   Manekin, “Black Student Protest,” 13-14, 20-32, 47.
29
   Manekin, “Black Student Protest,” 8. According to Manekin, there were 107 African-
American undergraduates out of a total of 11,010 undergraduate students.
30
   Mark Warren Schafer, “The Desegregation of a Public University System: Conflict Between
the Consolidated University of North Carolina and the Department of Health, Education, and
Welfare, 1969-79” (Ph.D. diss., UNC-CH, 1980), 51.
31
   Statement by Governor Bob Scott, February 19, 1970, General Administration: Legal Affairs
Division, UNC-HEW Negotiation on Desegregation, General, January-June 1970, Wilson
Library Archives, University of North Carolina, Chapel Hill, NC.
32
   HEW began seriously enforcing integration in systems of higher education in part due to a
lawsuit filed by the National Association for the Advancement of Colored People Legal Defense
and Education Fund (“LDF”). See Adams v. Richardson, 351 F. Supp. 636, 637 (D.D.C. 1972);
Adams v. Richardson, 480 F.2d 1159, 1166 (D.C. Cir. 1973); Adams v. Califano, 430 F. Supp.
118, 119-20 (D.D.C. 1977) (finding the desegregation plan submitted by UNC-CH to be
deficient).

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body; only 6.7 percent of enrolling undergraduates were African-American.33 A professor and

former President of Shaw, a historically African-American college, noted the “open defiance” of

the UNC administration to the desegregation efforts.34 Eventually, Julius Chambers resigned

from the Board of Governors in protest over its failure to take meaningful action to end

segregation.35 In the face of increasing federal scrutiny of the administration’s resistance, Senator

Jesse Helms introduced a bill to block federal desegregation enforcement, for which he was

praised by UNC-CH.36

        When HEW finally revoked UNC’s federal funding for its continued noncompliance,

North Carolina responded with a lawsuit lambasting enforcement efforts as “directed solely

toward states of the ‘Old Confederacy.’”37 Meanwhile, UNC-CH students named Secretary

Joseph Califano—the man in charge of “HEW’s efforts to desegregate the 16-campus UNC


33
   Schafer, Desegregation, 35. For comparison, the 1980 census measured the African-American
population in North Carolina at 22.4 percent. U.S. Dep’t of Commerce, Bureau of the Census,
1980 Census of Population, Volume 1: Characteristics of the Population, Chapter B: General
Population Characteristics, Part 35, North Carolina, June 1982, accessed December 19, 2017,
available at https://www.census.gov/prod/www/decennial.html.
34
   Rob Christensen and Joye Brown, Raleigh News and Observer, “Officials Say Schools
‘Clearly Unequal,’” February 23, 1979, p.6.
35
   Interview with Julius Chambers by Judith Van Wyk, March 6, 2007. L-0266, in the Southern
Oral History Program Collection #4007, Southern Historical Collection, Wilson Library,
University of North Carolina at Chapel Hill, accessed December 19, 2017, transcript available at
http://dc.lib.unc.edu/cdm/compoundobject/collection/sohp/id/16515/rec/3.
36
   S.519, Academic Freedom Act of 1979, March 1, 1979, summary available at
https://www.congress.gov/bill/96th-congress/senate-bill/519; S.1361, Academic Freedom Act,
April 22, 1977, summary available at https://www.congress.gov/bill/95th-congress/senate-
bill/1361?r=2834; Howard Troxler, Daily Tar Heel, “Friday Backs Helms on Measure to Limit
Federal ‘Nitpicking,’” June 9, 1977; see also Schafer, Desegregation, 207 (describing further
opposition by legislators).
37
   Rob Christensen, Raleigh News and Observer, “State Files Lawsuit to Block Cutoff of Federal
Funds to UNC System,” April 25, 1979, pp.1, 6.

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system”—“the hands-down winner” of the “ugliest man on campus” contest.38 The contentious

litigation was resolved abruptly when the new Reagan administration announced a settlement,

credited in part to the efforts of Senator Helms.39 The LDF unsuccessfully opposed this consent

decree—which placed no concrete obligations on UNC—as abandoning any attempt at true

enforcement.40 Their criticism proved prescient.

        Instead of making progress towards the consent decree’s nonbinding goal of ten percent

enrollment, African-American enrollment at UNC-CH in 1985 dropped slightly below the

enrollment numbers at the time of settlement.41 During this period, African-American students

continued to experience isolation and discrimination.42 Students were subjected to racial slurs

and stereotypes.43 One 1983 graduate recalls being asked to do the laundry by her white

classmates, who let her know that the only African-Americans they had previously encountered

were their maids.44 In 1988, the last year the University reported under the consent decree,



38
   Id. at 6.
39
   New York Times, “Carolina settles integration suit on universities,” June 21, 1981, accessed
December 19, 2017, available at http://www.nytimes.com/1981/06/21/us/carolina-settles-
integration-suit-on-universities.html; Consent Decree, North Carolina v. Dep’t of Educ., No. 79-
217-CIV 5 (E.D.N.C. April 24, 1979).
40
   Jim Hummel, Daily Tar Heel, “NAACP to Fight Consent Decree,” August 24, 1981; William
Friday, Memorandum on the Settlement of the Litigation Between the University of North
Carolina and the United States Department of Education, July 20, 1981, “UNC Collection of
North Caroliniana,” Wilson Library, University of North Carolina, Chapel Hill, NC; Mem. Op.,
North Carolina v. Dep’t of Educ., No. 79-217-CIV 5 (E.D.N.C. July 17, 1981).
41
   Dawn Brazell, Daily Tar Heel, “Minority enrollment drops despite goals,” March 26, 1985.
42
   Id.; Lynne Thomson, Daily Tar Heel, “Segregation at UNC: A call for affirmative action in
University housing,” August 6, 1981; Declaration of Dr. Gwenevere Charlene Parker at ¶ 8.
43
   See, e.g., Declaration of Pamela Phifer White at ¶¶ 8-10; Declaration of Kenneth Ward at ¶¶ 7-
8; Declaration of Dr. Parker at ¶¶ 9-11; Declaration of Valerie Newsome Hayes at ¶ 7.
44
   Declaration of Patsy B. Zeigler at ¶¶ 9-10, 12-14.

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undergraduate African-American enrollment had only reached 8.6 percent.45 A two-decade-long

struggle to eliminate continued segregation ended with a whimper, integration goals unmet.

V.      The State of North Carolina’s History of Racial Discrimination in Public Education

        North Carolina’s history of racism at UNC-CH did not occur in isolation and must be

viewed within the State’s broader history of racially discriminatory policies and practices in its

system of public (K-12) education. Through its discriminatory public education policies and

practices, the State created and perpetuated racial disparities and further prevented and then

substantially undermined African-American student enrollment at UNC-CH. It did this in part by

restricting funding and other resources necessary for otherwise eligible African-American high

school students to obtain the academic skills essential for admission.

        During the period of slavery in North Carolina through the Civil War, North Carolina’s

elected leaders enacted laws restricting the education of African-American slaves as well as free

persons of color.46 From the end of the Civil War through the 1950s, North Carolina systemically

favored whites and discriminated against African-Americans in the provision of public

education, even as it kept them in segregated public schools. Even after legally enforced

segregation was ended by the Supreme Court, North Carolina sought to maintain a system of de

facto segregation. As the legislatively-created North Carolina Advisory Committee on Education


45
   UNC-CH Affirmative Action Office, “Minority and Female Presence Report—1988,”
November 1988, Office of Chancellor of the University of North Carolina at Chapel Hill:
Christopher C. Fordham Records, 1969-1995, University Archives at the Louis Round Wilson
Special Collections Library, University of North Carolina, Chapel Hill, NC, p. i (acknowledging
that “the University has not reached the ten percent enrollment goal that has been a target
throughout this decade”).
46
   Johnson, Ante-Bellum North Carolina, 543, 601.

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proclaimed in response to Brown: “The educational system of North Carolina has been built on

the foundation stone of separation of the races in the schools. . . . Every particle of progress

which has been made in education since 1900 has rested squarely on the principle of separation

of the races compelled by State law . . . The Supreme Court of the United States destroyed the

school system we had developed—a segregated-by-law system.”47 The Committee advised that

“[d]efiance of the Supreme Court would be fool-hardy.”48 It instead advocated the State

“rebuild” the school system so as to maintain segregation but comply with the law, counseling:

“When the fires have subsided, when sanity returns . . . when the North Carolina Negro finds that

his outside advisors are not his best or most reliable friends, then we can achieve the voluntary

separation which our Governor and other State leaders have so wisely advocated.”49

        North Carolina Assistant Attorney General R. Beverly Lake “advised North Carolina

communities to be prepared to operate private schools to avoid integration” as a necessary

backstop to the plan.50 And on July 9, 1956, the State Superintendent of Public Instruction (along

with the head of the white supremacist organization “the Patriots of North Carolina”) announced

his support of Governor Luther Hodges’ implementation of the plan to prevent de facto




47
   The April 5th Report of the North Carolina Advisory Committee on Education to the
Governor, the General Assembly, the State Board of Education, and the County and Local
School Boards of North Carolina, 1956, 4-5, accessed December 19, 2017, available at
https://archive.org/stream/reportofnorthcar00nort_0#page/n3/mode/2up.
48
   Id. at 6.
49
   Id. at 7-8.
50
   Durham Sun, “Assistant Attorney General Sees Need—Private Schools Asked to Avoid
Integration,” July 14, 1955, accessed December 19, 2017, available at
http://digital.ncdcr.gov/cdm/compoundobject/collection/p16062coll17/id/169/rec/2 (p.7).

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integration in public schools—the infamous Pearsall Plan.51

        Unsurprisingly, therefore, systematic racial discrimination, both pre and post Brown v

Board of Education, is well documented. As set forth below, such discrimination included,

among other things, racial disparities in teacher pay, per-pupil expenditures, the value of white

and African-American public school property, the quality and extent of the school curriculum,

and the provision of school supplies.

        As shown by the State’s per capita expenditures for teachers’ salaries by race during the

period from Reconstruction through the Depression, North Carolina discriminated in its funding

of public education.52 During the period of time examined (ending in 1933, the last year noted in

the study) spending on teacher salaries per capita for white schools far exceeded that expended

for African-American schools. For example, the per capita educational funding in 1873 for

teacher salaries was $0.48 for white schools and $0.40 for African-American schools.53

        The disparity in teacher pay grew even greater after the white supremacy campaigns of



51
   Durham Sun, “Carroll, George Back Hodges’ School Plan,” July 9, 1956, accessed December
19, 2017, available at
http://digital.ncdcr.gov/cdm/compoundobject/collection/p16062coll17/id/169/rec/2 (p.6).
Enacted by the General Assembly in 1956, the Pearsall Plan’s goal was to impede racial
integration of North Carolina’s public schools, as recently mandated by the Supreme Court in
Brown v. Board. See North Carolina Advisory Committee on Education, “The Pearsall Plan to
Save Our Schools,” published in University of North Carolina at Charlotte, “The Pearsall Plan,”
J. Murrey Atkins Library, Special Collections Unit, Exhibit: Race and Education in Charlotte,
accessed December 19, 2017, available at
https://speccollexhibit.omeka.net/exhibits/show/resistance-and-reform/resistance-to-change/the-
pearsall-plan.
52
   Horace Mann Bond, The Education of the Negro in the American Social Order, (New York:
Prentice-Hall, Inc., 1934), 155-56.
53
   Bond, Education, Table X, pp. 155-56.

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1898 and 1900. From 1901 through the end of the study in 1933, per capita spending by North

Carolina for teachers at white schools exceeded that expended for African-American schools

anywhere from 38% up to triple the expenditures for African-American schools.54

        The State also provided disparate funding for African-American schools for decades. In

1900, North Carolina’s school population was 34.7% African-American, but the segregated

schools for the African-American population received 28.3% of state expenditures designated by

race; by 1915, the percentage of African-Americans in the public school population was 32.6%,

but African-American schools received only 13.0% of state expenditures designated by race.55

Such funding disparities for public education were more extreme in those eastern North Carolina

counties where African-Americans comprised a greater percentage of the population.56 The

average level of North Carolina spending on instruction by race over a sixty (60) year period

from 1890 through 1950 is shown in Table A below. Although progress towards funding parity

certainly occurred, racial disparities continued.

        Table A: Per-Pupil Expenditure on Instruction in North Carolina (1950 Dollars)57

                         c. 1890            c. 1910          c. 1935           c. 1950
      African-             7.75               9.28            32.92             92.84
      American
       White              7.67               17.25            51.43             100.37
       Ratio              1.01                0.54             0.64              0.93




54
   Id.
55
   Louis R. Harlan, Separate and Unequal: Public School Comparison and Racism in the
Southern Seaboard States 1901-1915 (New York: Atheneum, 1968), 131.
56
   Bond, Education, Table XIII, p. 161.
57
   Robert A. Margo, Race and Schooling in the South, 1880-1950: An Economic History
(Chicago: University of Chicago Press, 1990), Table 2.5, pp. 21-22.
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        A comparison of the appraised value of school property of segregated public

schools for white students and African-American students, shown in Table B, is one more

example of North Carolina’s racial disparities in state and local investment in public

school education.

        Table B: Appraised Value of School Property per Pupil Enrolled, by Race,
        1919-196458

            Year          White Schools        African-American        Ratio of White to
                                                    Schools            African-American
                                                                            Values
          1919-20                $45.32                 $11.20                  4.0
          1924-25                113.40                  29.03                  3.9
          1929-30                162.92                  44.20                  3.7
          1934-35                152.99                  44.55                  3.4
          1939-40                167.36                  55.93                  3.0
          1944-45                203.80                  73.08                  2.8
          1949-50                314.29                 127.38                  2.5
          1954-55                539.70                 336.65                  1.6
          1959-60                709.54                 487.10                  1.5
          1963-64                826.24                 565.55                  1.5

        North Carolina’s racial discrimination in its provision of public education is also

shown in the difference in resources provided to African-American and white students.

Table C consists of a 1950 comparison ofchemistry equipment available at two high

schools in Durham, North Carolina. The white Durham High School maintained much

better classroom equipment than the African-American high school, Hillside High.


58
  Sources: Biennial Reports, 1962-63/1963-64, pt. 1, 37, cited in Sarah Carolina Thuesen.
Greater Than Equal: African American Struggles for Schools and Citizenship in North Carolina,
1919-1965 (Chapel Hill: The University of North Carolina Press, 2013), Table 5.2, p. 164.
School property values include the estimated value of school sites, buildings, furniture,
equipment, and library books.

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Similar differences in physics and biology supplies between the white and African-

American high school also existed.59

        Table C: Comparison of Chemical Equipment and Supplies, Durham and
        Hillside High Schools, Durham, NC60

         Equipment and supplies, relatively     Durham High School       Hillside High
                permanent apparatus                                         School
         Crucible tongs                                     71                 **
         Wing tops                                          72                 **
         Triangular files                                   42                 **
         Pipe stem triangles                                94                 **
         Clamps, Mohr's                                     60                 **
         Test tube brushes                                  75                 **
         Test tube clamps                                   70                 **
         Forceps                                            98                 **
         Wire gauze, asbestos center                        39                 **
         Rings, iron                                       109                 **
         Tripods                                             6                 **
         Ring stands                                        27                 **
         Deflagrating spoons                                18                 **
         Pneumatic troughs                                  25                  0
         Balances, triple beam                               4                  1
         Balances, analytical                                3                  0
         Brunson burners with hose                          12                  0


        One of North Carolina’s Biennial Reports, noted in Table D, shows racially

discriminatory differences in the curriculum provided to white and African-American



59
   J. Rupert Picott, Stephen J. Wright and Ellis O. Knox, “A Survey of the Public Schools in
Durham, North Carolina,” June 1950, Durham, North Carolina, 107, 110-111. Thuesen’s review
of a report regarding Hillside High states that “[t]he school had no cafeteria and only one
drinking fountain. In the school’s two restrooms, the faucets lacked sinks and emptied into tin
cans on the floor.” Greater Than Equal, 63.
60
   Picott et al., “Survey,” at 108. ** indicates rows with the notation “Miscellaneous ill-assorted
supplies insufficient to run any experiment for the entire class.”

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students as part of their public school education. According to the Report, advanced

academic courses, in addition to courses offering more “white collar” vocational skills,

were more regularly provided in white schools than African-American schools.


        Table D: Select Curricular Offerings at African-American and White High
        Schools in North Carolina, 1963-196461

                   Course               Percentage of White      Percentage of African-
                                        Schools Offering (%)       American Schools
                                                                     Offering (%)
         Advanced algebra                        54                       13
         Trigonometry                            46                       31
         Sociology                               57                       79
         Geography                               66                       38
         Industrial arts                         66                       50
         Trades and industries                   29                       42
         Distributive education I                17                        3
         Spanish I                               35                       14
         Latin I                                 38                        4
         French II                               80                       92
         French III                              16                       11
         Chorus and choir                        53                       68
         Basic business                          45                       52
         Typewriting II                          87                       69
         Shorthand I                             74                       46
         Shorthand II                            28                        6
         Bookkeeping I                           84                       38
         Business arithmetic                     45                       21
         Office practice and                     35                       15
         management
         Agriculture III                         73                        57
         Agriculture IV                          65                        42
         Home economics IV                       13                        22


61
  Biennial Report, 1962-63/1963-64, pt. 1, 33, 57-58, cited in Thuesen, Greater Than Equal,
Table 2.1. The number of schools offering these electives was compared to the total number of
schools for each race that offered them through grade twelve. In 1963-64, there were 499 such
schools for whites and 226 for African-Americans.
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                           EXHIBIT

                                  1




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                         CURRICULUM VITAE: DAVID S. CECELSKI


Dr. David S. Cecelski

1. PERSONAL

       Profession: independent scholar and writer
       Born: 1 September 1960
       Family: Wife, Dr. Laura Hanson, and two children, Vera and Guy
       Home address: 1502 Bivins Street, Durham NC 27707
       Telephone: (919) 270-3302
       Email: cecelskid@earthlink.net


2. EDUCATION

       Ed.D.            Harvard Graduate School of Education                1991
       M.Ed.            Harvard Graduate School of Education                1986
       B.A.             Duke University (majors in history and biology)     1982



3. VISITING PROFESSORSHIPS AND OTHER ACADEMIC EMPLOYMENT

2001-2002, 2003 (Fall), and 2007 (Fall)

Lehman Brady Visiting Joint Chair Professor in Documentary and American Studies, Duke
     University and the University of North Carolina at Chapel Hill

       Awarded at three different times. Responsibilities: taught oral history seminars
       and gave a series of public lectures. Classes taught: “The Maritime South” and
       oral history courses that focused on traditional coastal life in the American
       South, social activism, the civil rights movement, and the veterans’ experience after
       WWII, Korea, and Vietnam.

2000-2001

Whichard Distinguished Visiting Professor in the Humanities,
      Department of History, East Carolina University, Greenville, N.C.

       Responsibilities: taught a lecture class on the environmental history of the North Carolina
       coast and a research seminar on American slave narratives, as well as gave two public
       lectures.




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                                                2


1995 to 2000

Research Associate, Southern Oral History Program, University of North Carolina at Chapel
       Hill, Chapel Hill, N.C.

       Responsibilities: conducted grant-funded oral history research projects and supervised
       a team of ten graduate students. The principal project was a large study of the World War
       II home front on the North Carolina coast. In addition, I conducted oral history
       interviews for “Listening to History,” an overview of social and cultural change in North
       Carolina during the 20th century. I featured many of those interviews in my oral history
       column that was published in the Sunday edition of the Raleigh News & Observer.

1996-1997

Teaching Fellow, Duke University Center for Documentary Studies, Durham, NC

       Responsibilities: taught upper-level oral history seminars on the civil rights movement
and the environmental history of the North Carolina coast.

1991-1994

Research Fellow, Institute for Southern Studies, Durham, NC

       Responsibilities: directed the Institute’s board of directors and its publication Southern
       Exposure, conducted research and wrote my first book Along Freedom Road, and edited
       and wrote a variety of special projects, including (with Mary Lee Kerr) the first critical
       study of environmental dangers and worker abuse in the poultry slaughterhouse industry
       in the South, and (with Luz Guerra) a special issue of Southern Exposure on the
       connections between Central America and the American South.

1989-91

Teaching Fellow, Harvard College and Harvard Graduate School of Education



4. SELECTION OF RECENT PUBLIC LECTURES


“Love in the Archives: The Search for Abraham Galloway in America’s Great Libraries,” NC
Center for the Advancement of Teaching, Ocracoke, N.C., October 24, 2015.

“The Maritime Underground Railroad, 1776-1865,” University of Massachusetts-Dartmouth and
                                                                                        2




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                                              3

the New Bedford Whaling National Historic Site, July 28, 2015.

“An Eye for Mullet: Charles A. Farrell’s Photographs of the Brown’s Island Mullet Camp,”
UNC Center for the Study of the American South, Chapel Hill, N.C., September 12, 2014.

“Abraham Galloway and the Writing of Southern History,” Western Carolina University Spring
Literary Festival, Cullowhee, N.C., March 31, 2014.

“Galloway, Lincoln, and the Emancipation Proclamation,” Freedom and Emancipation
Conference, Wake Forest University, Winston-Salem, N.C., October 18, 2013.

“Abraham Galloway and Race in America Today,” International Civil Rights Museum,
Greensboro, N.C., May 3, 2013.

“Abraham Galloway and the Struggle for Freedom,” Dorothy Perry Thompson Lecture,
Winthrop University, Rock Hill, S.C. Feb. 18, 2013.

“`Music All Over the Ocean: The Last Days of the Menhaden Fishery in North Carolina,”
University of North Carolina-Chapel Hill Folklore Program, Chapel Hill, N.C., February 11,
2013.

 “Remembering Abraham Galloway,” St. Peter’s AME Zion Church, New Bern, N.C., February
3, 2013.

“The Fire of Freedom: Abraham Galloway and the Slaves’ Civil War,” National Archives,
Washington, DC. December 19, 2013.

“The Fire of Freedom: Abraham Galloway and the Slaves’ Civil War,” New York Public
Library, November 15, 2012.

“Freedom Stories: Abraham Galloway and the Civil War,” University of Wisconsin-Madison
Ctr. for the Humanities, Madison, Wisconsin, November 8, 2012.



5. HONORS AND AWARDS

Christoper C. Crittenden Award, N.C. Literary & Historical Association, 2016
North Caroliniana Society, elected, 2015
Ragan Old North State Award, 2013
North Caroliniana Society Book Award, 2013
Mayflower Award for Non-fiction, N.C. Literary & Historical Association, 2002
North Carolina Wildlife Federation, Governor’s Achievement Award, 2002
Choice Outstanding Academic Title, 2002
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Clarendon Cup, Lower Cape Fear Historical Society, 2001
Herbert Paschal Award, East Carolina University, 2001
North Carolina Writers Society, elected 2000
Outstanding Book Award, Gustavis Myers Center for the Study of Human Rights, 1999
Walter Hines Page Award for Literature, 1998
Historical Society of North Carolina, elected 1995
Choice Outstanding Academic Book Award, 1995
Critics' Choice Award, American Educational Studies Association, 1995
Co-winner, History Book Award, 1995, North Carolina Society of Historians
Robert D.W. Connor Award, 1994, Historical Society of North Carolina
Rural Policy Fellowship, Aspen Institute for Policy Studies, 1988-1989
Lyndhurst Prize (2-year invited fellowship), 1987-1989
Chairman, Board of Directors, Institute for Southern Studies, elected 1986-1991
Co-winner, National Magazine Award for Public Interest Journalism, 1988
Editorial Board, Harvard Educational Review, elected 1986-88




                          PUBLICATIONS: DAVID S. CECELSKI


BOOKS


The Fire of Freedom: Abraham Galloway and the Slaves’ Civil War (Chapel Hill:
       University of North Carolina Press, 2012).

The Waterman's Song: Slavery and Freedom in Maritime North Carolina (Chapel Hill:
      University of North Carolina Press, 2001).

A Historian's Coast: Adventures into the Tidewater Past (Winston-Salem, N.C.: John
       Blair, Publisher, 2000).

Co-editor (with Katherine Mellen Charron), Recollections of My Slavery Days, by
       William H. Singleton (Raleigh: North Carolina Department of Cultural Resources,
        Division of Archives and History, 1999).

Co-editor (with Timothy B. Tyson), Democracy Betrayed: The Wilmington Race Riot of
       1898 and Its Legacy. (Chapel Hill: University of North Carolina Press, 1998).

Along Freedom Road: Hyde County, North Carolina and the Fate of Black Schools in the South
     (Chapel Hill: University of North Carolina Press, 1994).

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BOOKS-IN-PROGRESS

The Sea at Night: A Coastal Village and the Second World War (UNC Press, forthcoming.)

A World of Fisher Folks: The Coastal Photographs of Charles A. Ferrell (currently in
       negotiations with the University of North Carolina Press).


SPECIAL SERIES

NCFOOD. An on-line journal on traditional foods and cookery in North Carolina.
     Published by the North Carolina Folklife Institute (www.ncfolk.org), Durham, N.C.,
    2007-2012. See Appendix C below for a full listing of the 200+ columns and short essays.

"Listening to History," in the “Sunday Journal” section of The News and Observer
       (Raleigh, N.C.). A monthly column of oral history stories focusing mainly on
       Eastern North Carolina. Published monthly, 1998-2008. See Appendix A below
       for a full listing of the articles.

"A Historian's Coast." Coastwatch magazine (published by the University of North
       Carolina Sea Grant Program, North Carolina State University, Raleigh, NC). A
       bi-monthly series of essays on the environmental history of coastal North Carolina,
       1996- 2000. See Appendix B below for a full listing of the essays.


CURATED EXHIBITS

“`An Eye for Mullet’: Charles A. Farrell’s Photographs of the Brown’s Island Mullet Camp,
      1938,” University of North Carolina Institute for the Study of the American South, Fall
      2014.



ARTICLES, ESSAYS AND MISCELLANEOUS WRITINGS


“Of Time and the Sea: Nye’s Clock Oil and the Bottlenose Dolphin Fishery at Hatteras Island,
      North Carolina, in the Early Twentieth Century,” North Carolina Historical Review 92,
      no. 1 (January 2015), 49-79.

“`An Eye for Mullet’: Charles A. Farrell’s Photographs of the Brown’s Island Mullet
      Camp, 1938,” Southern Cultures 20, no. 3 (Fall 2014), 105-122.

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“`The Voice of the Shipyard’: Arthur Miller in Wilmington, North Carolina, 1941,” North
       Carolina Literary Review #23 (Summer 2014), 48-59.

“Remembering The Currituck Sounder,” Carolina Comments (N.C. Department of
     Cultural Resources, Division of Archives & History), 11 January 2013.

“`Music All Over the Ocean’: Voices from the Menhaden Industry’s Last Days,” North
      Carolina Folklore Journal 59, #1 (Spring/Summer 2012).

“Shirley’s Garden,” pp. 60-63 in Elizabeth Woodman, ed., 27 Views of Durham: The Bull City in
       Prose and Poetry (Hillsborough, N.C.: Eno Publishers, 2012).

“Bogue Sound Watermelons,” Edible Piedmont (Summer 2012). Also republished in Tar
      Heel Junior Historian (fall 2013).

“The Constant, Haunting Music of the Geese,” [on Rachel Carson at Lake Mattamuskeet] North
      Carolina Literary Review # 20 (summer 2011), 20-26.

“Hugh MacRae at Invershiel” (co-written with Timothy B. Tyson), in “Worth 1,000
      Words: Essays on the Photos of Hugh Morton,” A View to Hugh: Processing the
      Hugh Morton Photographs and Films, Chapel Hill: University of North Carolina at
      Chapel Hill Library, 30 May 2010.

“The Lighthouse’s Last Keeper.” Originally a lecture at the 150th Anniversary
      Celebration of the Cape Lookout Lighthouse, Core Sound Waterfowl Museum and
      Heritage Center, 19 Oct. 2009. Published on-line by the Core Sound Waterfowl Museum
      at www.coresound.com.

“After the Fire: Lessons from ‘African American Voices between Two Rivers,’” Carolina
        Comments [Raleigh: North Carolina Division of Archives and History], 23-28.

“Love in the Archives: A Historian’s Journey through America’s Great Libraries,”
       Journal for the Society of North Carolina Archivists, (Fall 2009).

“Playing Croquet until Dark: Voices from Portsmouth Island,” North Carolina Folk Lore
       Journal 55, # 2 (Fall/Winter 2008), 41-51.

“In the Promised Land.” Personal essay. The News and Observer (Raleigh, N.C.), 14
        September 2008, pp. 1D, 12D, 14D.

“The Life of the Late James Johnson: An American Slave Narrative from Oldham,
      England” (co-written with Alex Christopher Meekins), Carolina Comments 56,
      #2 (July 2008), 108-113.

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“Sonny Williamson and the Core Sound Sharpie.” Originally a lecture at the Core Sound
     Workboat Symposium, Harkers Island, N.C., 1 March 2008, published on-line by
     the Core Sound Waterfowl Museum and Heritage Center at www.coresound.com.

“My Father’s Library,” North Carolina Literary Review 16, #1 (Spring 2007), 125-127.

“Abraham Galloway: Freedom Fighter,” The News & Observer (Raleigh, N.C.), February
      10, 2007, F1.

“Canals” (co-written with Bland Simpson), in William S. Powell, ed., Encyclopedia of
      North Carolina History (Chapel Hill: University of North Carolina Press, 2006), 167-
      168.

“Love, Death and Sweet Potato Biscuits,” North Carolina Literary Review 15,
       #1 (spring 2006), 145-152.

“The Oyster Shucker’s Song,” in Cornbread Nation 3: The Best of Southern Food
      Writing (Chapel Hill: University of North Carolina Press, 2005), 180-187.

“Reflections on Ulrich Mack’s Inselmenchen-Island People,” North Carolina Folk Life
       Journal vol. 51, #2 (Fall/Winter 2004), 22-34.

“The Last Daughter of Davis Ridge,” Sea History No. 98 (Autumn 2001), 14-18.

"`A Goodly Heritage’: William Henry Singleton's Rediscovered Slave Narrative" (co-
      written with Katherine Mellen Charron), Independent Weekly (Durham, N.C.), March 22,
      2000, 14-19.

"If You Could Hear What I Hear," Carolina Alumni Review 88, #4 (July/August 1999),
       32-38.

"Abraham H. Galloway: Wilmington's Lost Prophet and the Rise of Black Radicalism in
      the American South," pp. 43-72 in David S. Cecelski and Timothy B. Tyson, eds.,
      Democracy Betrayed: The Wilmington Race Riot of 1898 and Its Legacy (Chapel Hill:
      University of North Carolina Press, 1998).

"Eddie McCoy's Struggle for Freedom," Carolina Comments 46, #2 (July 1998), 95-99.

"Oldest Living Confederate Chaplain Tells All? Or, James B. Avirett and the Rise and
       Fall of the Rich Lands," Southern Cultures 3, #4 (Winter 1997/98), 5-24.

"The Wild Plums at Core Creek; or, In Praise of Slow Cooking," Carolina Comments 45,
      #5 (September 1997), 121-129. Reprinted in a revised version in The News & Observer,
      November 23, 1997.
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"Ordinary Sin," The Independent (Durham, N.C.), March 19, 1997, pp. 11-15.

"The Extremists among Us" (co-written with Steven Niven), The Independent, March 19,
      1997, p. 12.

"Burning Memories: finding long-buried records about the Ku Klux Klan in eastern
       Carolina makes it difficult to evade unwanted ghosts," Southern Exposure 24, #4 (Winter
       1996), 19-24.

"A World of Fisher Folk," North Carolina Literary Review 2, #2 (Summer 1995), 183-
      199.

"The Home Front's Dispossessed," Southern Exposure 23, #2 (Summer 1995), 37-41.

"Goshen's Land," Southern Exposure 23, #1 (Spring 1995), 3-4.

"Moses Grandy: A Slave Waterman's Life, 1786-1835," Tributaries [N.C. Maritime
      History Council] 4, #1 (October 1994), 7-13.

"The Slaves We Buried: Three Lost Slave Autobiographies from Coastal North
       Carolina," Carolina Comments 42, #4 (July 1994), 117-126.

"Along Freedom Road," Southern Exposure 22, #2 (Summer 1994), 30-35.

“Does Brown Still Matter?,” The Nation, May 19, 1994.

"The Shores of Freedom: The Maritime Underground Railroad in North Carolina, 1800-
      1861," North Carolina Historical Review 71, #2 (April 1994), 174-206.

"The Hidden World of Mullet Camps: African-American Architecture on the North
      Carolina Coast," North Carolina Historical Review 70, #1 (January 1993), 1-13.

"Hog Wild: The Dangers of Corporate Hog Farming" (co-written with Mary Lee Kerr),
      Southern Exposure 20, #3 (Fall 1992), 8-15. Reprinted in The Independent Weekly,
      November 7, 1992.

"Shuckers and Peelers: ‘Bohemian’ Immigrant Workers in the Southern Seafood
      Industry, 1890-1920," Southern Exposure 20, #1 (Spring 1992), 61-63.

"A Thousand Aspirations: [African Americans and the Federal Occupation of Coastal
      North Carolina during the Civil War]," Southern Exposure 18, #1 (Spring 1990), 22-25.

Co-editor (with Luz Guerra), “Flowers in the Desert Die,” special issue of Southern
                                                                                              8




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      Exposure 17, #2 (Spring 1987).


APPENDIX: A: “Listening to History,” The News & Observer (Raleigh, NC), 1998 to 2008.

“Gretchen Brinson: A Born Nurse," June 14, 1998.
" Rev. Vernon Tyson: Miss Amy's Witness," July 12, 1998.
"Hattie Brown: A Freedom Story," August 9, 1998.
“Odell Spain: My Way of Life," September 13, 1998.
"Allen Troxler: Shirley's Garden," October 11, 1998.
"Ray Wells: There's a Man for You," November 8, 1998.
"Kenny Davis: It's Like Being at War," December 13, 1998.
“Georgia Rae Dickinson: Like Waves on the Beach,” January 10, 1999.
"Betty Ballew: The Place I Love Best on this Earth," February 14, 1999.
"Harry Kittner: A Candle is Lit," March 14, 1999.
"Lois Epps Jones: Zan Epps' Daughter," April 11, 1999.
"John McDonald: This Old Drugstore," May 9, 1999.
"Willis Williams: Life and Death at Devils Gut," June 13, 1999.
"Emma Crawford: A Good Life," July 11, 1999.
"Leila Pigott: An Angry God," August 8, 1999.
"Marta Galvez: We Can Outlast," September 12, 1999.
"Ben Averitt: Doing It Right," October 10, 1999.
“Mabel Williams: Standing up to the Klan," November 14, 1999.
"David Harrell: A Rockyhock Christmas," December 12, 1999.
"Denise Giles: A Hometown Hero," December 26, 1999.
"Hazel Reece: A Quilter's Life," January 9, 2000.
"Margaret Wicker: The Glen Coal Mine Disaster," February 13, 2000.
"Case and Ellene Van Wyk: Flower Fields and Muck Fires," March 12, 2000.
"Rev. David Forbes: The Birth of SNCC," April 9, 2000.
“Otis Hardy: Stars in the Sky,” May 14, 2000.
“Charles Wales: Always a Little Music,” June 11, 2000.
“Horace Twiford: A 12 Gauge and a Mullet Net,” July 9, 2000.
“Adell McDowell: A Frightful Time,” August 13, 2000.
“Jim Ellis: Putting in Tobacco,” September 10, 2000.
“E.R. Mitchell: Backyard Barbecue,” October 8, 2000.
“Kenneth George: Cole’s Pottery,” November 12, 2000.
“Madge Guthrie: One Clear Beautiful Night,” December 10, 2000.
“Dorcas E. Carter: The Great Fire of ’22,” January 14, 2001.
“Dr. James Slade: People That Do Right,” February 11, 2001.
“James Applewhite: The Essences of Things,” March 11, 2001.
“Sheila Kingsbury-Burt: The Undercrust of Living Dust,” April 13, 2001.
“Mary Everett: The End of the Century Book Club,” May 8, 2001.
“Welton Lowry: The Spirit of Henry Berry Lowry,” June 8, 2001.
“Mary Lea Simpkins: The Yates Mill,” July 8, 2001.
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“Wesley Goodwin: Knitting and Hanging Net,” August 12, 2001.
“Haley Kelley: Remembering Sugar Hill,” September 8, 2001.
“Norman Perry: Redbone Hounds and Wood Pile Dogs,” October 14, 2001
“Elizabeth Ohree: Waiting is Hard,” November 11, 2001.
“Joe Johnson: Denim Days in Erwin,” December 9, 2001.
“Jan Applewhite: Theater of Dreams,” January 13, 2002.
“Don Stith: The Smoke Eaters of Warrenton,” February 10, 2002.
“Martha MacLeod: The Highland Scots,” March 10, 2002.
 “Gary Grant: A Boy Scout Jamboree to Remember,” April 14, 2002.
“Robert Frost: This Tramp,” May 12, 2002.
“Capt. Eugene W. Gore: The Smell of Money,” June 9, 2002.
“David Yeomans: When the Booze Yacht ran Ashore,” July 14, 2002.
“Bessie Mizell: We are all in this Together,” August 11, 2002.
“Lila Edwards: Great-Granddaddy Sang Amazing Grace,” September 8, 2002.
“Dennis Moody: Death is no Different,” October 13, 2002.
“Carl Lamm: Glory Days of Country Music Radio,” November 10, 2002.
“Elizabeth Sanderlin: Old-Fashioned People,” December 8, 2002.
“Karen Bethea-Shields: In Joan Little’s Cell,” January 12, 2003.
“Allan Gurganus: Telling the Story from Birth,” February 9, 2003.
“Wilma Horton: All the Old Tent Show People,” March 9, 2003.
“George Graham: Fried Shad on Blue Monday,” April 13, 2003.
“Pota Vallas: A Greek Heart,” May 10, 2003.
“Joe Lewis: “We weren’t Afraid,” June 8, 2003.
“Ethel Blalock: The Primitive Baptists Endure,” July 13, 2003.
“Loretta Gunter: Always a Family Beach,” August 10, 2003.
“Rudolph Knight: History Right Here,” September 13, 2003.
“Vernon Lee Creekmore: In Old Currituck” October 11, 2003.
“Marta Colson: Ililda’s Beauty Shop,” November 9, 2003.
“Dan “D.T.” Dale: The Fears They Had,” December 14, 2003.
“Joe Floyd: The Lightship Relief,” January 10, 2004.
“Marvin Jones: Making a Day,” February 8, 2004.
“Rachel Stotesbury: As Time Goes Along,” March 13, 2004.
“Rene Whitney: So Many Blessings,” April 11, 2004.
“Bunny Sanders: Serpents and Doves,” May 9, 2004.
“Maceo Parker: These Kids are Fantastic,” June 13, 2004.
“Maude Ballance: Ocracoke Cooking,” July 11, 2004.
“Watts Auman: Peach Picking Time,” August 8, 2004.
“Evelyn Zaytoun Farris: Love Stories,” September 12, 2004.
“Ray Wyche: A Rainy Day Hangout,” October 10, 2004.
“Myrtle Peele: Book Dreams,” November 14, 2004.
“Eddie McCoy: “Write-Off Kids,” December 12, 2004.
“Doc Borden: D-Day,” January 9, 2005.
“James Everett Brown: The Most Comfort in the World,” February 13, 2005.
“Annie Louise Wilkerson: A Life of My Own,” March 13, 2005.
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“Judith Shaw: Railroad Street,” April 11, 2005.
“Ardathy Spikes: Somewhere like DuPont,” May 8, 2005.
“H.O. Golden: A Man’s Work,” June 12, 2005.
“Kathleen Hanchey: The Pink Supper House,” July 9, 2005.
“Edward Tie: A Second Life,” August 13, 2005.
“Clarence Alston: It was 1919,” September 11, 2005.
“Mary Cannady: At Dr. King’s House,” October 9, 2005.
“Eppie Rhodes: The Home Front’s Dispossessed,” November 13, 2005.
“Fred Lockamy: Sorrow Valley,” December 11, 2005.
“Karl Fleming: Show Me Life,” January 8, 2006.
“John McNeill, Sr.: A Dream World,” February 10, 2006.
“Alice Eley Jones: Herring Fish,” March 12, 2006.
“Alethea Williams-King: The Widow’s Mite,” April 8, 2006.
“Karen Willis Amspacher: Harkers Island Ends Here,” May 14, 2006.
“Mary White: A One Teacher School,” June 11, 2006.
“William M. Hill: At the Mortar Box,” July 9, 2006.
“Lennis Ipock: The Dead Ones,” August 13, 2006.
“Lennie Christianson: Alligator River Life,” September 9, 2006.
“Lovie Shelton: God Dealt Well with the Midwives,” October 8, 2006.
“Ike Murray: Things that Last,” November 12, 2006.
“Terry Shinn: High Rock,” December 10, 2006.
“Tibbie Roberts: Free as the Marsh Ponies,” January 13, 2007.
“Sallie Powell: Determined to Teach” February 11, 2007.
“Mel A. Tomlinson: Rubber-Band Man,” March 11, 2007
“Delia Perkins: The Waters Came Down,” April 8, 2007.
“Sallie Powell: Mr. Dewitt’s Lake,” April 29, 2007.
“Velma Coltain: The Wind was Howling,” May 13, 2007.
“Dwight Burris and Ernie Foster: Old Drum,” June 10, 2007.
“Marvin Tupper Jones: Pleasant Plains,” July 8, 2007.
“Alfred Fisher: Bay River,” August 12, 2007.
“Henry Ramsey, Jr.: My Own Love of the Blues,” September 9, 2007.
“Nancy Grady Wilson: Making Something Good,” October 13, 2007.
“Ann Johnson: This Woman’s War,” November 11, 2007.
“Athenia Moses: Standing Up for the Things We Believed,” December 10, 2007.
“Helen Hoggard: Salt Pork & Cracklings,” January 12, 2008.
“Ammie Jenkins: Where the Cool Waters Run,” February 10, 2008.
“Milton Styron: Born a Commercial Fisherman,” March 9, 2008.
“Loraine Nelson: If the Threshers Spent the Night,” April 13, 2008.
“Henry Johnson, Jr.: The Engelhard Café,” May 10, 2008.
“Joyce Williams: Farm Days,” June 8, 2008.
“Sonny Williamson: Ain’t Love Wonderful?” July 20, 2008.



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APPENDIX B: "A Historian's Coast." Coastwatch magazine (published by the University of
North Carolina Sea Grant Program, North Carolina State University). A bi-monthly series of
essays on the environmental history of coastal North Carolina, 1996-2000.
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“Goshen’s Land,” Nov./Dec. 2000, 27-32.

“The Lamb’s Army,” Sept./Oct. 2000, 28-29.

“The Book of Nature,” July/Aug. 2000, 26-29.

"All Good Things," Jan./Feb. 1999, 28-30.

"Light and Air," Nov./Dec. 1998, 18-21.

"Nature Remembers," Sept./Oct. 1998, 24-27.

"Mis' Bashi and the Lady Doctor," July/Aug. 1998, 20-23.

"The Guano Gospel," May/June 1998, 20-23.

"Elliott Coues: A Naturalist at Fort Macon," Mar./Apr. 1998, 24-26.


“What the Governor Grew," Jan./Feb. 1998, 18-21.

"Small Miracles," Nov./Dec. 1997, 20-23.

"The Smoke and Ashes of Croatan," Sept./Oct. 1997, 12-17.

"Behind the Veil," July/Aug. 1997, 21-23.

"In the Great Alligator Swamp," May/June 1997, 19-21.

"Henry Ansell's Recollections of Knotts Island," Mar./Apr. 1997, 23-25.

"The Rise and Fall of the Rich Lands," Jan./Feb. 1997, 21-24.

"The Oyster Shucker's Song," Nov./Dec. 1996, 22-24.

"The Last Daughter of Davis Ridge," Sept./Oct. 1996, 18-19.
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"The Schooner Ogeechee at Hatteras Island," July/Aug. 1996, 21-23.

"Rachel Carson at Bird Shoal," May/June 1996, 20-23.

"Where Late the Sweet Birds Sang," Mar./Apr. 1996, 20-23.

"Voyage of the Paper Canoe," Jan./Feb. 1996, 13-15.




APPENDIX C: NCFOOD. A blog on North Carolina food, history and folklore. Published by the
North Carolina Folk Life Institute, Durham, N.C., 2007-2012.

“Muscadine Grape-Hull Pie and other Duplin County Delicacies” (Sept. 2007)
“Scallop Fritters & Lemon-Milk Pie” (Oct.). Republished in The Ocracoke Observer.
“Brunswick Stew” (Nov.)
“Sinigang Na Baboy” (Nov.)
“Roast Jumping Mullet (and Banana Pudding)” (Nov.)
“Persimmon Pudding” (Nov.)
“Irene’s Collards and Corn Dumplings” (Dec.)
“Posole at La Vaquita” (Dec.)
“Kourambiethes at Holy Trinity” (Dec.)
“Christmas Fruitcake” (Dec.)

“The Best Dandoodle in the World” (Jan. 2008)
“Lacy Cornbread, Tomato Pudding & Boiled Peanuts,” (Jan.)
“Doenjang and Fried Dill Pickles” (Jan.)
“Healing from the Land” (Jan.)
“The Needy and the Stranger” (Jan.)
“Resurrections: Venters Grill, Strickland Dail’s and Holland’s Shelter Creek” (Jan.)
“Check Hog Hash off the Bucket List” (Jan.)
“Miss Mogie’s Molasses Gunger” (Feb.)
“Grand Asia Market” (Feb.)
“Ocracoke Oyster Pie” (19 Feb.) Re-published in The Ocracoke Observer.
“Greensboro Farmers Curb Market” (23 Feb.)
“The Full Circle Crab Company” (27 Feb.)
“Daddy’s Stewed Conchs” (6 Mar.)
“Cake Lady, Watermelon Man and the Saw Mill Boys” (9 Mar.)
“Deep River” (21 Mar.)
“Blue Monday” (24 Mar.)
“The R.A. Fountain General Store & Internet Café” (30 Mar.)
“The Best Meal Ever” (3 Apr.)
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“Madison County Farmers and Artisans Market” (7 Apr.)
“Trail Magic” (8 Apr.)
“South Estes Farmers Market” (15 Apr.)
“The Sunshine Lavender Farm” (25 Apr.)
“Chatham County Strawberry Fields” (8 May)
“Currituck May Peas” (10 May)
“Britt’s Donut Shop” (19 May)
“Love at Hardee’s” (23 May)
“Anathoth Community Garden (28 May)
“New Bern/`What Your Mama Needs Today’” (2 June)
“Hills of Snow” (3 June)
“Davidson’s Soda Shop” (15 June)
“Ocracoke Blackberry Dumplings” (25 June)
“Fayetteville Street Soul Food” (28 June)
“Lumbee Homecoming/Cornbread and Collards Sandwiches” (Jeff Currie) (11 July)
“Making an Oyster Knife” (20 July)
“Bakersville” (20 July)
“Moravian Chicken Pie” (1 Aug.)
“Miss Jenny’s Fig Preserves” (19 Aug.)
“Beatrice Mason’s Pickled Green Tomatoes” (1 Sept.)
“Pear Preserves” (8 Sept.)
“Tamales at the Buckhorn Flea Market” (5 Oct.)
“Black Walnuts” (12 Oct.)
“Rocky Mount Farmers Market” (12 Oct.)
“Collards for Sale” (3 Nov.)
“South Boulevard, Charlotte” (14 Nov.)
“Thanksgiving Oyster Roast” (30 Nov.)
“Pierogi at Saints Cyril and Methodius” (6 Dec.)

“A Cornbread Elegy” (1 Jan. 2009)
“Homage to a Red & White” (1 Jan.)
“My Lord, Honey” (1 Jan.)
“The Art of Making Oyster Fritters” (10 Jan.)
“Cary’s Little India” (21 Feb.)
“Gibsonville” (8 Apr.)
“Mermaid Point” (10 Apr.)
“Hot Pepper Vinegar, Oyster Stew & Cheese Biscuits” (13 Apr.)
“Peggy O’Neal’s Fishcakes” (20 Apr.)
“Lovick’s Café, Kinston” (28 Apr.)
“At the Statesville Rotary Farmer’s Market” (5 May)
“St. Nicholas Greek Festival, Wilmington” (18 May)
“Eagle Island Produce & Seafood Market” (22 May)
“Mulberry Season” (27 May)
“Aunt Dot’s Squash Casserole” (12 June)
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“The Class of ‘45” (29 June)
“Bread of Heaven Bakery, Goldsboro” (6 July)
“Cousin Eloise’s Sweet Pickles” (29 July)
“Bogue Sound Watermelons” (29 July)
“A Day Cooking Pig” (11 Aug.)
“Moore Square Farmers Market, Raleigh” (20 Aug.)
“Fresh Shrimp” (30 Aug.)
“Muscadine Grape-hull Preserves” (1 Sept.)
“Clambake, Beaufort” (14 Sept.)
“Resettlement Café, Tillery” (29 Sept.)
“Mill Bridge” (4 Oct.)
“Fried Hard Crabs, North River” (12 Oct.)
“Great Dismal Swamp” (19 Oct.)
“Peanuts at the A&B Milling Company, Enfield” (26 Oct.)
“Pan de Muerto” (1 Nov.)
“Julia’s Talley House” (8 Nov.)
“Tapatio Home Cooking—La Cuata” (16 Nov.)
“US 701—La Mixteca and La Michoacana” (24 Nov.)
“Picking up Pecans” (7 Dec.)
“Mole de Guanajuato” (14 Dec.)
“Hux Grocery, Rocky Mount” (20 Dec.)
“Breaking Roe” (27 Dec.)

“Yoder’s Dutch Pantry” (4 Jan. 2010)
“Rosca de Reyes” (6 Jan.)
“Hunter’s Venison Stew” (20 Jan.)
“’Cue Shack, Greene County” (27 Jan.)
“Stew Beef and Rutabagas with Corn Dumplings” (1 Feb.)
“Rose Bay Oysters” (11 Feb.)
“Shrove Tuesday Pancake Supper” (15 Feb.)
 “Fishmonger’s Elegy” (22 Feb.)
“Fried Herring, Conetoe” (1 Mar.)
“Bill’s Hot Dogs, Washington” (8 Mar.)
“Al Baraka Market’s Almonds with Lemon” (15 Mar.)
“Skin and Bones, Hookerton” (22 Mar.)
“Last Oyster Roast” (29 Mar.)
“Tamales Oaxaquenos, Lillington” (5 April)
“Wash Tub Fish Stew” (12 April)
“Paw Paw Pudding” (19 April)
“Country Ham, Cove City” (26 April)
“4-H Livestock Show & Auction, Ponzer” (2 May)
“Soft Crabs, Far Creek” (2 May)
“Sprigs of Fresh Basil, Greensboro” (11 May)
“Coltrane’s Side of Town” (20 May)
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“Irish Potatoes” (12 June)
“Flower Blossom Pupusas” (28 June)
“Biscuit and Blackberry Jam” (8 July)
“Ridgeway Cantaloupe Festival” (17 July)
“The Sanitary’s Hushpuppies” (24 July)
“Tuesday Flea Market, Murphy” (9 Aug.)
“Greasy Beans & Yellow-eyed Peas” (16 Aug.)
“Cherokee Dinner, Stecoah” (23 Aug.)
“Spicewood & Solomon’s Seal” (30 Aug.)
“Loaves and Fishes” (6 Sept.)
“Big T’s on a Saturday Night” (13 Sept.)
“Brightleaf Flea Market” (20 Sept.)
“Flour Burgers” (3 Oct.)
“Pickled Corn on the Cob” (10 Oct.)
“Homeland Creamery” (17 Oct.)
“Oakwood BBQ” (25 Oct.)
“Dried Mullet Roe” (2 Nov.)
“Home Canned Tomatoes” (15 Nov.)
“Pig’s Feet Supper” (17 Nov.)
“Korner Kitchen” (29 Nov.)
“Pintos and Cornbread” (1 Dec.)
“Keaton’s” (7 Dec.)
“Consome de Borrego” (13 Dec.)
“Fried Sweet Potatoes” (21 Dec.)
“Craven County Corn” (28 Dec.)

“Black-Eyed Peas & Hog Jowls” (3 Jan. 2011)
“Huitlacoche” (11 Jan.)
“Collard Kraut” (20 Jan.)
“Bear Hunter’s Cornpone with Ramps” (31 Jan.)
“Stewed Turnips” (1 Feb.)
“Jeff & Lisa’s Brick House Grill” (9 Feb.)
“Hoe Cakes” (15 Feb.)
“Milton Tire Service and Grill” (21 Feb.)
“Bailey, NC” (4 Mar.)
“Hood Swamp” (7 Mar.)
“Yellow Cabbage Collards” (14 Mar.)
“Prison Farm Tomatoes” (21 Mar.)
“Railroad Cafe, Eden” (28 Mar.)
“Lenten Fish Fry” (4 Apr.)
“”The Skylight” (11 Apr.)
“Livermush, Grits, & Eggs” (20 Apr.)
“Jamesville Herring Festival” (25 Apr.)
“North Asheville Tailgate Market” (2 May)
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“Warren Wilson College Farm” (9 May)
“Melvin Gales’ Produce Stand” (16 May)
“Mi Molcajete” (23 May)
“Mole de Olla” (30 May)
“Griot et Ragoût” (6 June)
“The Stockyard” (13 June)
“La Rosa de Saron” (20 June)
“Styron’s Fish House” (27 June)
“Brenda Avery’s Preserves” (4 July)
“Colington Island Crabs” (11 July)
“Davis Shore Light Rolls” (18 July)
“Wild Plums” (25 July)
“Sweet Corn & Biscuit” (1 Aug.)
“Saxapahaw General Store” (8 Aug.)
“Ugawa” (15 Aug.)
“Tomato Gravy” (22 Aug.)
“West End Grill” (29 Aug.)
“Kure Beach Fishing Pier” (6 Sept.)
“Chicken & Dumplings” (13 Sept.)
“Fresh Spots” (19 Sept.)
“Ms. Alice’s Kitchen” (26 Sept.)
“Spaghetti Supper” (3 Oct.)
“Church Bazaar, Butner” (10 Oct.)
“Old School Sorghum” (17 Oct.)
“Salemburg’s Food Bank (24 Oct.)
“Cabin Branch Farm Market” (1 Nov.)
“October Beans” (8 Nov.)
“Pickled Hot Sausage” (14 Nov.)
“Mac’s Air Dried Sausage” (29 Nov.)
“Core Sound Clam Chowder with corn dumplings” (21 Nov.)
“Miss Beadie’s Sweet Potato Biscuits” (4 Dec.)
“Tamales & Atole” (13 Dec.)

“Fanta City” (5 Feb. 2012)
“King of Turkey BBQ” (15 Feb.)
“Pimento Cheese & Liver Pudding, Kernersville” (22 Feb.)
“Pik-N-Pig, Carthage” (1 Mar.)
“Holy Week Fanesca” (27 Mar.)
“Bright Leaf Dogs” (20 June)
“Fruta con Limon y Chile” (30 June)
“Carolina Beach Farmers Market” (4 July)
“Blue Crabs at Dusk” (5 July)
“Pluck” (28 July)
“Honor Box Produce” (28 July)
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“Core Creek Crab Pot” (6 Aug.)
“Yana’s Peach Fritters” (29 Aug.)
“Hatteras Farewell” (3 Oct.)




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